                          Case 19-50026 Document 1 Filed in TXSB on 03/04/19 Page 1 of 15                                                       3/04/19 3:58PM




Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Westwind Manor Resort Association, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  15 Mason
                                  Suite A
                                  Irvine, CA 92618
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Orange                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Westwind Manor Resort Association, Inc.                                                    Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                7139

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
                                          Chapter 11. Check all that apply:
                                                              Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                              A plan is being filed with this petition.
                                                              Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                Case number
                                                 District                                 When                                Case number


10. Are any bankruptcy cases            No
    pending or being filed by a
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     See attached list                                             Relationship
                                                 District                                 When                            Case number, if known




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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Debtor   Westwind Manor Resort Association, Inc.                                                 Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                    5001-10,000                               50,001-100,000
                                 50-99
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                      page 3
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Debtor    Westwind Manor Resort Association, Inc.                                                  Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on        March 4, 2019
                                                  MM / DD / YYYY


                             X                                                                            Jeremy Rosenthal
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Restructuring Officer




                             X /s/ Michael D. Warner                                                       Date    03/04/2019
18. Signature of attorney
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Michael D. Warner
                                 Printed name

                                 Cole Schotz P.C.
                                 Firm name

                                 301 Commerce Street, Suite 1700
                                 Fort Worth, TX 76102
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     817-810-5250                  Email address       mwarner@coleschotz.com

                                 (TX Bar No. 00792304) TX
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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                                    LIST OF AFFILIATES



        COMPANY                                                 CASE NO.

        Westwind Manor Resort Association, Inc.                 19-

        Warrior ATV Golf, LLC                                   19-

        Warrior Acquisitions, LLC                               19-

        Warrior Golf Development, LLC                           19-

        Warrior Golf Management, LLC                            19-

        Warrior Golf Assets, LLC                                19-

        Warrior Golf Venture, LLC                               19-

        Warrior Premium Properties, LLC                         19-

        Warrior Golf, LLC                                       19-

        Warrior Custom Golf, LLC                                19-




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                        WESTWIND MANOR RESORT ASSOCIATION, INC.

                               (Chapter 11 Bankruptcy Petition)



                                   WRITTEN CONSENT OF
                                     THE DIRECTORS


       The undersigned, being all of the Directors of Westwind Manor Resort Association, Inc.,
a Texas corporation (the “Company”'), do hereby consent to and adopt the following resolutions:
                               (Chapter 11 Bankruptcy Petition)
        WHEREAS, in light of the Company’s current financial condition, the Directors have
investigated, discussed and considered options for addressing the Company’s financial
challenges and, after consultation with the Company’s advisors, have concluded that it is in the
best interests of the Company, its creditors, employees and other interested parties that a petition
be filed by the Company seeking relief under the provisions of Chapter 11 of Title 11 of the
United States Code (the “Bankruptcy Code”'!: now therefore be it

        RESOLVED, that in the judgment of the Directors of the Company, it is desirable and in
the best interests of the Company, its creditors, employees and other interested paities that a
petition be filed by the Company seeking relief under the Bankraptcy Code; and it is further

         RESOLVED, that the Chief Restructuring Officer of the Company is hereby authorized,
empowered and directed, in the name and on behalf of the Company, to execute and verify a
peti tion under Chapter 11 of the Bankruptcy Code and to cause the same to be filed in the United
States Bankruptcy Court for the Southern District of Texas, Laredo Division, at such time as said
officer executing the same shall detemiine; and it is further
      RESOLVED, that the law firm of Cole Schotz P.C. is hereby employed as attorneys for
the Company in the Chapter 11 case, subject to Bankruptcy Court approval; and it is further
       RESOLVED, that the financial advisoiy fimr of Force Ten Partners LLC is hereby
employed as financial advisors for the Company in the Chapter 11 case, subject to Bankruptcy
Court approval; and it is further

       RESOLVED, that the Chief Restructuring Officer of the Company is hereby authorized,
empowered and directed to execute and file all petitions, schedules, motions, lists, applications,
pleadings and other papers and, in that connection, to employ and retain all assistance by legal
counsel, accountants, financial advisors, liquidators and other professionals, and to take and
perform any and all further acts and deeds deemed necessary, proper or desirable in connection
with the successful prosecution of the Chapter 11 case; and it is further

     RESOLVED, that Chief Restructuring Officer of the Company is hereby authorized,
empowered and directed, in the name and on behalf of the Company, to cause the Company to


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   Case 19-50026 Document 1 Filed in TXSB on 03/04/19 Page 7 of 15




enter into, execute, deliver, certify, file and/or record, and perfomi such agreements, instruments,
motions, affidavits, applications for approvals or ruling of governmental or regulatory
authorities, certificates or other documents, including without limitation, the amendment of any
organizational, constitutional or similar documents of subsidiaries of the Company for the
preservation of such entities and/or the value of the estate, and to take such action as in the
judgment of such Chief Restructuring Officer be or become necessary, proper and desimble to
effectuate an orderly liquidation of the Company’s assets; and it is further

        RESOLVED, that any and all past actions heretofore taken by the Directors, Chief
Restructuring Officer or any officer of the Company in the name and on behalf of the Company
in furtherance of any or all of the proceeding resolutions be, and the same hereby are, ratified,
confirmed and approved; and it is further

       RESOLVED, that the filing by the Company of a petition seeking relief under the
provisions of the Bankruptcy Code shall not dissolve the Company.

                         (Appointment of Chief Restructuring Officer)

        WHEREAS, the Directors, in consultation with their professionals, have determined that
it is desirable, fair, reasonable, and in the best interests of the Company to designate Jeremy
Rosenthal to serve as an olficer of the Company in the position of Chief Restructuring Officer
(the “CRO”); now therefore be it

       RESOLVED, that Jeremy Rosenthal is appointed to the position of Chief Restructuring
Officer of the Company; and it is further

        RESOLVED, that the CRO is hereby delegated the authority otherwise vested in the
chief executive officer, chief financial officer, president, and/or any other executive or senior
vice president, of the Company (collectively, the “Other Officers”!, in consultation with the
Directors and other officers, and where appropriate and consistent with the CRO’s discharge of
its fiduciary duties in consultation with the Directors, over implementation and prosecution of
the Bankraptcy Cases, including causing the Company to enter into one or more restructuring
transactions, including a sale of substantially all assets of the Company’s estates, the sale of any
real estate, any debtor in possession financing and any plan of reorganization (each a
“Restructuring Transaction”'): and it is further

        RESOLVED, that the CRO, in consultation with the Directors and other officers, is
hereby authorized and empowered, in the name of and on behalf of the Company, to take actions
and negotiate or cause to be prepared and negotiated and to execute, deliver, perform and cause
the performance of any agreements, certificates, instruments, receipts, petitions, motions or other
papers or documents in furtherance of any Restructuring Transaction to which the Company is
or will be a party, including, but not limited to, any management agreement, chapter 11 plan,
disclosure statement, asset purchase agreement, and all exhibits and/or ancillary documents
related thereto (collectively, the “Restructuring Documents”!: and it is further

       RESOLVED, that the CRO, in consultation with the Directors and other officers, is
hereby authorized and empowered in the name of, and on behalf of, the Company to take any
and all actions to (i) obtain bankruptcy court approval of the Restructuring Documents in


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connection with any Restructuring Transaction, and (ii) obtain bankruptcy court approval of any
Restructuring Transaction; and it is further

       RESOLVED, that all acts lawfully done or actions lawfully taken by any of the CRO,
Directors or the other officers in connection with the appointment and retention of the CRO, or
any matter related thereto, be, and hereby are, adopted, ratified, confirmed and approved in all
respects as the acts and deeds of the Company.

                                         (General Resolutions)

        RESOLVED, that this consent may be executed by facsimile, telecopy or other
electronic means or reproduction, and such execution shall be considered valid, binding and
effective for all puiposes; and it is further

       RESOLVED, the actions taken by this unanimous written consent shall have the same
force and effect as if taken by the undersigned at a meeting of the Board of Directors, duly called
and constituted pursuant to the laws of the State of Texas and the Company’s Amended and
Restated Bylaws; and it is further

       RESOLVED, that this Written Consent shall serve in lieu of a special meeting of the
Directors of the Company and the undersigned hereby waives all requirements as to notice of a
meeting; and it is further

       RESOLVED, that this Written Consent may be executed in any number of counterparts,
each of which shall be deemed an original and all of which taken together shall constitute one
and the same instrument.

                         [The remainder of this page is intentionally left blatrk.]




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                    IN WITNESS WHEREOF, the undersigned has executed this Written Consent of the
             Directors of Westwind Manor Resort Association, Inc. as of this 3"*^ day of March, 2019.

                                                      DIRECTORS:



                                                      Brendan Flaherty



                                                      Henry Peter Wheelahan, Jr.



                                                      Walter Bolen



                                                      Aaron Mun




             59217/O00M6990288V2




  miM                       2.

yiVlllillJ
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       IN WITNESS WHEREOF, the undersigned has executed this Written Consent of the
Directors of Westwind Manor Resort Association, Inc. as of this 3"^^ day of March, 2019.
                                         DIRECTORS;



                                         Brendan Flaherty



                                         Henry Peter Wheelahan, Jr.




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                              Case 19-50026 Document 1 Filed in TXSB on 03/04/19 Page 11 of 15


 Fill in this information to identify the case:
 Debtor name Westwind Manor Resort Association, Inc., et al.
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS                                                                                   Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 40 Largest Unsecured
Claims and Are Not Insiders
                                     12/15

A list of creditors holding the 40 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 40 largest unsecured claims.

 Name of creditor and complete          Name, telephone number          Nature of        Indicate if claim   Amount of claim
 mailing address, including zip         and email address of            claim             is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 code                                   creditor contact                (for example,    unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                                        trade debts,         disputed        value of collateral or setoff to calculate unsecured claim.
                                                                        bank loans,                          Total claim, if            Deduction for value        Unsecured claim
                                                                        professional                         partially secured          of collateral or setoff
                                                                        services, and
                                                                        government
                                                                        contracts)
 Anthony Ivankovich        Anthony Ivankovich                           Note                                                                                           2,000,000.00
 791 Crandon Blvd.         791 Crandon Blvd.
 Key Biscayne, FL 33149    Key Biscayne, FL 33149
 Raymond J. Kiefer         Raymond J. Kiefer                            Note                                                                                           1,220,019.38
 1147 Bayshore Dr.         1147 Bayshore Dr.
 Antioch, IL 60002-1483    Antioch, IL 60002-1483
 A and O Family, LLC       A and O Family, LLC                          Note                                                                                           1,121,644.25
 1150 Michigan Ave.        1150 Michigan Ave.
 Wilmette, IL 60091-1976   Wilmette, IL
                           60091-1976
 Mark & Linda Price        Mark & Linda Price                           Note                                                                                           1,054,119.12
 2601 Secretariat Ct.      2601 Secretariat Ct.
 Evansville, IN 47720-2386 Evansville, IN
                           47720-2386
 Donald P. Grzankowski     Donald P. Grzankowski                        Note                                                                                              871,100.61
 2239 Preservation Green 2239 Preservation
 Ct.                       Green Ct.
 Sun City Center, FL       Sun City Center, FL
 33573-4417                33573-4417

 Mark Bauman                            Mark Bauman                     Note                                                                                              802,547.72
 2320 Vanreen Dr.                       2320 Vanreen Dr.
 Colorado Springs, CO                   Colorado Springs, CO
 80919-5593                             80919-5593
 Dr. Susan Winchell                     Dr. Susan Winchell              Note                                                                                              596,503.10
 810 CR 133 Rd                          810 CR 133 Rd
 Wharton, TX 77488-2051                 Wharton, TX
                                        77488-2051
 Gregory A. Caretto                     Gregory A. Caretto              Note                                                                                              590,993.85
 P.O.Box 2018                           P.O.Box 2018
 Vail, CO 81658-2018                    Vail, CO 81658-2018




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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** The Debtors reserve all of their rights to contest the extent, validity, priority, or possible
avoidance of all claims listed herein.
                              Case 19-50026 Document 1 Filed in TXSB on 03/04/19 Page 12 of 15


 Debtor    Westwind Manor Resort Association, Inc. , et al.                                                   Case number (if known)
           Name

 Name of creditor and complete          Name, telephone number          Nature of        Indicate if claim   Amount of claim
 mailing address, including zip         and email address of            claim             is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 code                                   creditor contact                (for example,    unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                                        trade debts,         disputed        value of collateral or setoff to calculate unsecured claim.
                                                                        bank loans,                          Total claim, if            Deduction for value        Unsecured claim
                                                                        professional                         partially secured          of collateral or setoff
                                                                        services, and
                                                                        government
                                                                        contracts)
 Richard C. Klamer LivingRichard C. Klamer                              Note                                                                                              558,462.33
 Trust                   Living Trust
 Richard C. Klamer,      Richard C. Klamer,
 Trustee                 Trustee
 3450 34th St.           3450 34th St.
 Hamilton, MI 49419-9547 Hamilton, MI
                         49419-9547
 Thomas J. Hilty, Jr.    Thomas J. Hilty, Jr.                           Note                                                                                              465,324.60
 10707 NW 27th St.       10707 NW 27th St.
 Terrebonne, OR          Terrebonne, OR
 97760-9763              97760-9763
 R.E. Alexander          R.E. Alexander                                 Note                                                                                              441,845.59
 9411 South Church St.   9411 South Church St.
 Pahrump, NV 89048-8349 Pahrump, NV
                         89048-8349
 John & Carla Synatschk  John & Carla Synatschk                         Note                                                                                              392,691.39
 1100 US Hwy 385         1100 US Hwy 385
 Springlake, TX          Springlake, TX
 79082-6319              79082-6319
 Karen K.. Parrish Trust Karen K.. Parrish Trust                        Note                                                                                              388,923.85
 Deed                    Deed
 3753 Barrel Loop        3753 Barrel Loop
 The Villages, FL        The Villages, FL
 32163-2758              32163-2758
 James L. Olsen          James L. Olsen                                 Note                                                                                              382,797.16
 Revocable Trust         Revocable Trust
 117 Carolina Forest Rd  117 Carolina Forest Rd
 Chapel Hill, NC         Chapel Hill, NC
 27516-9033              27516-9033
 Dan Garrison            Dan Garrison                                   Note                                                                                              350,000.00
 19303 San Solomon       19303 San Solomon
 Springs CT              Springs CT
 Cypress, TX 77433-4076 Cypress, TX 77433-

 Thomas Adler                           Thomas Adler                    Note                                                                                              344,037.84
 140 Hards Ln                           140 Hards Ln
 Lawrence, NY                           Lawrence, NY 11559-
 11559-1315
 Thomas Mark & Diane                    Thomas Mark & Diane             Note                                                                                              325,874.89
 Johnston                               Johnston
 P.O. Box 1055                          P.O. Box 1055
 Jefferson , NC                         Jefferson , NC
 28640-1055                             28640-1055
 William Odell TTEE & Ella              William Odell TTEE &            Note                                                                                              323,821.66
 Odell TTEE                             Ella Odell TTEE
 1206 Knights Gate Ct                   1206 Knights Gate Ct
 Sun City Center, FL                    Sun City Center, FL
 33573-5895                             33573-5895




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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** The Debtors reserve all of their rights to contest the extent, validity, priority, or possible
avoidance of all claims listed herein.
                              Case 19-50026 Document 1 Filed in TXSB on 03/04/19 Page 13 of 15


 Debtor    Westwind Manor Resort Association, Inc., et al.                                                    Case number (if known)
           Name

 Name of creditor and complete          Name, telephone number          Nature of        Indicate if claim   Amount of claim
 mailing address, including zip         and email address of            claim             is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 code                                   creditor contact                (for example,    unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                                        trade debts,         disputed        value of collateral or setoff to calculate unsecured claim.
                                                                        bank loans,                          Total claim, if            Deduction for value        Unsecured claim
                                                                        professional                         partially secured          of collateral or setoff
                                                                        services, and
                                                                        government
                                                                        contracts)
 Elliot Family Trust                    Elliot Family Trust             Note                                                                                              301,156.64
 February 11, 2011                      February 11, 2011
 355 San Mateo Dr.                      355 San Mateo Dr.
 Menlo Park, CA                         Menlo Park, CA
 94025-5346                             94025-5346

 William P. Heddles TrustWilliam P. Heddles                             Note                                                                                              276,888.14
 P.O. Box 100            Trust
 Tiffin, OH 44883        P.O. Box 100
                         Tiffin, OH 44883
 Cecil Mellinger         Cecil Mellinger                                Note                                                                                              255,126.83
 215 N. 56th Ave. #17    215 N. 56th Ave. #17
 Yakima, WA 98908-5116 Yakima, WA
                         98908-5116
 John Synatschk          John Synatschk                                 Note                                                                                              250,000.00
 1100 US Hwy 385         1100 US Hwy 385
 Springlake, TX          Springlake, TX
 79082-6319              79082-6319
 CJ & WM Reed Family     CJ & WM Reed Family                            Note                                                                                              238,431.25
 1986 Revocable Trust    1986 Revocable Trust
 10036 La Placita Dr     10036 La Placita Dr
 Rancho Cordova, CA      Rancho Cordova, CA
 95670-3139              95670-3139
 David Walker            David Walker                                   Note                                                                                              232,223.54
 9735 W. Diablo Dr       9735 W. Diablo Dr
 Las Vegas, NV           Las Vegas, NV
 89148-4628              89148-4628
 Ron Stemen              Ron Stemen                                     Note                                                                                              227,937.76
 308 Upham Dr            308 Upham Dr
 Johnstown, OH           Johnstown, OH
 43031-1029              43031-1029
 Coley Docter Inc.       Coley Docter Inc.                              Trade                                                                                             226,732.96
 420 Stevens Avenue      420 Stevens Avenue
 Suite 310               Suite 310
 Solana Beach, CA 92075 Solana Beach, CA
                         92075
 Diane J. Luoto          Diane J. Luoto                                 Note                                                                                              223,481.76
 16782 Fairfield St      16782 Fairfield St
 Livonia, MI 48154-2906  Livonia, MI 48154-2906
 Donald Grzankowski      Donald Grzankowski                             Note                                                                                              200,000.00
 P.O. Box 451159         P.O. Box 451159
 Westlake, OH 44145-0629 Westlake, OH
                         44145-0629
 Robert Elliot           Robert Elliott                                 Note                                                                                              200,000.00
 c/o Elliot Family Trust c/o Elliot Family Trust
 355 San Mateo Drive     355 San Mateo Drive
 Menlo Park, CA 94025    Menlo Park, Ca 94025




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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** The Debtors reserve all of their rights to contest the extent, validity, priority, or possible
avoidance of all claims listed herein.
                              Case 19-50026 Document 1 Filed in TXSB on 03/04/19 Page 14 of 15


 Debtor    Westwind Manor Resort Association, Inc. , et al.                                                   Case number (if known)
           Name

 Name of creditor and complete          Name, telephone number          Nature of        Indicate if claim   Amount of claim
 mailing address, including zip         and email address of            claim             is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 code                                   creditor contact                (for example,    unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                                        trade debts,         disputed        value of collateral or setoff to calculate unsecured claim.
                                                                        bank loans,                          Total claim, if            Deduction for value        Unsecured claim
                                                                        professional                         partially secured          of collateral or setoff
                                                                        services, and
                                                                        government
                                                                        contracts)
 Wilfred M. Luoto           Wilfred M. Luoto                            Note                                                                                              200,000.00
 16782 Fairfield St         16782 Fairfield St
 Livonia, MI 48154-2906     Livonia, MI 48154-2906
 Equity Trust, FBO Jeffrey  Equity Trust, FBO                           Note                                                                                              190,562.41
 Bibler                     Jeffrey Bibler
 P.O. Box 451159            P.O. Box 451159
 Westlake, OH 44145-0629    Westlake, OH
                            44145-0629
 Leonard J. Kuczynski       Leonard J. Kuczynski                        Note                                                                                              182,607.63
 4925 Valley Woods Dr       4925 Valley Woods Dr
 Independence, OH           Independence, OH
 44131-5241                 44131-5241
 The Philip C. Shoaf Trust The Philip C. Shoaf                          Note                                                                                              172,748.14
 1059 Marie Ave             Trust
 Martinez, CA 94553-3520 1059 Marie Ave
                            Martinez, CA
                            94553-3520
 The Mintz Family Trust     The Mintz Family Trust                      Note                                                                                              169,731.75
 Cheryl L Mintz, Trustee    Cheryl L Mintz, Trustee
 3205 White Sands Way       3205 White Sands Way
 League City, TX            League City, TX
 77573-0703                 77573-0703
 Elizabeth Ann Harlow       Elizabeth Ann Harlow                        Note                                                                                              165,602.57
 PO Box 2326                PO Box 2326
 Appomattox, VA             Appomattox, VA
 24522-2326                 24522-2326
 Erwin L. Cooper            Erwin L. Cooper                             Note                                                                                              161,972.51
 7766 W State Rd 45         7766 W State Rd 45
 Bloomington, IN            Bloomington, IN
 47403-9252                 47403-9252
 Roger & Rosemary           Roger & Rosemary                            Note                                                                                              150,000.00
 Nelson                     Nelson
 280 Victor Ave             280 Victor Ave
 Longwood, FL               Longwood, FL
 32750-6157                 32750-6157
 Don Copus                  Don Copus                                   Note                                                                                              150,000.00
 46 Ridge Rd                46 Ridge Rd
 Pleasant Ridge, MI         Pleasant Ridge, MI
 48069-1122                 48069-1122
 Charles E. Huss            Charles E. Huss                             Note                                                                                              141,435.33
 1705 Hillcrest Ct, Box 348 1705 Hillcrest Ct, Box
 Mendota, IL 61342-0348     348
                            Mendota, IL
                            61342-0348
 Ross Oliver                Ross Oliver                                 Note                                                                                              139,588.88
 9417 35th Ave. NE          9417 35th Ave. NE
 Marysville, WA             Marysville, WA
 98270-7252                 98270-7252




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 4

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                         Case 19-50026 Document 1 Filed in TXSB on 03/04/19 Page 15 of 15                                                         3/04/19 8:27PM




 Fill in this information to identify the case:

 Debtor name         Westwind Manor Resort Association, Inc., et al.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on              March 4, 2019                       X
                                                                         Signature of individual signing on behalf of debtor

                                                                         Jeremy Rosenthal
                                                                         Printed name

                                                                         Chief Restructuring Officer
                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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